Case 8:16-cv-02324-TPB-SPF Document 41 Filed 08/15/19 Page 1 of 4 PageID 520




                              UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

                                                     )
  EVANSTON INSURANCE COMPANY,                        )
                                                     )
                        Plaintiff,                   )
                                                     )
  v.                                                 )   Case No. 8:16-cv-02324-TPB-SPF
                                                     )
  WILLIAM KRAMER & ASSOCIATES,                       )
  LLC,                                               )
                                                     )
                        Defendant.                   )
                                                     )

                 AGREED MOTION TO CONTINUE THE DEADLINE
              FOR FILING AN AMENDED CASE MANAGEMENT REPORT

         Pursuant to Local Civil Rule 3.01, Defendant William Kramer & Associates, LLC

  (“Kramer”), with the consent of Plaintiff Evanston Insurance Company (“Evanston”), files

  this motion seeking an Order continuing the deadline for filing an amended case management

  report until thirty (30) days after the Court rules on Kramer’s pending Renewed Motion to

  Dismiss the Complaint (ECF No. 37). Kramer submits the following memorandum of law in

  support of this motion.

                                     MEMORANDUM OF LAW

         1.      Evanston filed this Action on August 15, 2016. See ECF No. 1.

         2.      On September 9, 2016, Evanston filed a motion to stay all proceedings in this

  matter pending the outcome of an appeal being pursued by Evanston in the United States

  Court of Appeals for the Second Circuit (the “Second Circuit”). See ECF No. 7.




                                               -1-
Case 8:16-cv-02324-TPB-SPF Document 41 Filed 08/15/19 Page 2 of 4 PageID 521




         3.      On September 23, 2016, Kramer filed a motion to dismiss the complaint. See

  ECF No. 9.

         4.      The parties filed a case management report on December 6, 2016 and the

  Court issued a scheduling order on December 8, 2016. See ECF Nos. 16 & 18.

         5.      On December 20, 2016, the Court (J. Kovachevich) granted Evanston’s

  motion to stay, directed the parties to notify the Court of the Second Circuit’s decision within

  five (5) days of the mandate, and directed the Clerk of Court to administratively close the

  case. In addition, the Court granted Kramer leave to reassert the arguments in its motion to

  dismiss and any new arguments upon the stay being lifted. See ECF No. 21.

         6.      On July 17, 2019, Kramer notified the Court that the Second Circuit had

  issued a mandate affirming the judgment of the United States District Court for the District

  of Connecticut in Kramer’s favor. See ECF No. 34.

         7.      On the same day, the Court re-opened the Action and invited Kramer to file

  any renewed motion to dismiss by August 6, 2019. See ECF No. 35. The Court also

  instructed the parties to submit an amended case management report by August 16, 2019. Id.

         8.      Kramer filed a Renewed Motion to Dismiss the Complaint on August 6, 2019.

  ECF No. 37. On August 14, 2019, Evanston sought leave for a 14-day extension to respond

  to Kramer’s Motion, or until September 3, 2019. See ECF No. 39.

         9.      In the interests of judicial economy, Kramer requests that the Court continue

  the deadline for filing an amended case management report until thirty (30) days after a

  ruling on Kramer’s pending Renewed Motion to Dismiss the Complaint (ECF No. 37), if the




                                                -2-
Case 8:16-cv-02324-TPB-SPF Document 41 Filed 08/15/19 Page 3 of 4 PageID 522




  case is not dismissed. Kramer has conferred with counsel for Evanston, who consents to this

  motion.

         WHEREFORE, Kramer respectfully requests that the Court grant its motion and

  enter an Order continuing the deadline for filing an amended case management report until

  thirty (30) days after the Court rules on Kramer’s pending Renewed Motion to Dismiss the

  Complaint (ECF No. 37).

                                  Rule 3.01(g) Certification

         Pursuant to Rule 3.01(g), Kramer conferred with counsel for Evanston, who consents

  to this motion.

  Dated: August 15, 2019

                                                     Respectfully submitted,

                                                      /s/ Charles C. Lemley
                                                     Charles C. Lemley
                                                     Florida Bar No. 0016314
                                                     Clemley@wileyrein.com
                                                     WILEY REIN LLP
                                                     1776 K Street NW
                                                     Washington, DC 20006
                                                     (202) 719-7000
                                                     (202) 719-7049 (facsimile)

                                                     Attorneys for Defendant William Kramer
                                                     & Associates LLC




                                              -3-
Case 8:16-cv-02324-TPB-SPF Document 41 Filed 08/15/19 Page 4 of 4 PageID 523




                                CERTIFICATE OF SERVICE

         I hereby certify that on August 15, 2019, I electronically filed the foregoing document

  with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record via transmission of Notices of Electronic Filing

  generated by CM/ECF or in some other authorized manner for those counsel or parties who

  are not authorized to received Notices of Electronic Filing.


                                                       Respectfully submitted,


                                                        /s/ Charles C. Lemley
                                                       Charles C. Lemley
                                                       Florida Bar No. 0016314




                                                -4-
